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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                    8:14CR144

       vs.
                                                                      ORDER
NICOLE M. WITBECK,

                      Defendant.


       This matter is before the Court on the defendant’s Motion to Modify Conditions of Pre-
Trial Release (Filing No. 20). The defendant moves the court to modify the terms and conditions
of her pretrial release allowing her to travel out of the United States on a pre-arranged trip to
Bali, Indonesia. The dates of the trip to Indonesia are from July 16, 2014 through July 26, 2014.
The defendant requests that her passport be returned to her for the purposes of the trip. Upon
review of the court file, and having consulted Pretrial Services, the Court will grant the
defendant’s Motion to Modify Conditions (Filing No. 20).
       IT IS ORDERED:
       1.     The defendant’s Motion to Modify Conditions of Pre-Trial Release [20] is
              granted.
       2.     Pretrial Services shall immediately prepare a Modification of Conditions of
              Release for the defendant’s signature.
       3.     Upon filing of the Modification of Conditions of Release, Pretrial Services shall
              return the defendant’s passport to her. The defendant shall immediately return her
              passport to Pretrial Services upon her return from Bali, Indonesia.




       Dated this 16th day of June, 2014.

                                                     BY THE COURT:
                                                     s/ F.A. Gossett, III
                                                     United States Magistrate Judge
